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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,             CR. NO. 2:07-248-17 WBS
13                  Plaintiff,             MEMORANDUM AND ORDER RE: MOTION
                                           TO REDUCE SENTENCE PURSUANT TO
14         v.                              18 U.S.C. § 3582(c)(2)
15   OSCAR CAMPOS PADILLA,
16                  Defendant.
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22               Before the court is defendant Oscar Padilla’s Motion to
23   reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) and
24   Amendment 782 of the United States Sentencing Guidelines
25   (“Guidelines”).     (Def.’s Mot. (Docket No. 1361).)       The government
26   opposes defendant’s Motion.       (Gov’t’s Opp’n (Docket No. 1432).)
27               On May 16, 2011, defendant entered into a plea
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1    agreement with the government whereby he agreed to plead guilty

2    to one count of conspiracy to distribute and possess with intent

3    to distribute methamphetamine in violation of 21 U.S.C. §§ 846

4    and 841(a)(1).     (Plea Agreement at 1 (Docket No. 866).)           The

5    agreement stated that the court would “impose a sentence” “after

6    consultation and consideration of the Sentencing Guidelines.”

7    (Id. at 5-6.)    The agreement further stated that “defendant’s

8    sentence shall be 188 months in prison except that the defendant

9    reserves the right to argue in favor of a sentence of no less

10   than 168 months in prison.”       (Id. at 6.)

11               On October 19, 2011, the United States Probation Office

12   filed a presentence report (“PSR”) in defendant’s case.

13   (Presentence Report (“PSR”).)       The PSR recommended a base offense

14   level of 38 for defendant’s crime under section 2D1.1(c) of the

15   Guidelines (“drug quantity table”), and deducted three levels for

16   defendant’s “acceptance of responsibility under Guidelines

17   section 3E1.1, for a total offense level of 35.”          (Id. ¶¶ 29,

18   36.)   Defendant’s criminal history was a category I.          (Id. ¶ 39.)

19   Based on defendant’s offense level and criminal history category,

20   the PSR determined that defendant’s sentencing range under the
21   Guidelines was 168 to 210 months in prison.         (Id. ¶ 51.)

22               On November 28, 2011, the court held a sentencing

23   hearing in defendant’s case.       (Sentencing Tr. (Docket No. 1151).)

24   At the hearing, the court adopted the PSR’s findings “[w]ith

25   respect to the sentencing guidelines” and sentenced defendant to

26   168 months in prison.      (Id. at 2, 8.)    The court noted that it
27   “consider[ed] the guidelines in determining [defendant’s]

28   sentence,” and that “[a] sentence of 168 months . . . would . . .
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1    be within the guidelines.”       (Id. at 8-9.)

2                On November 1, 2014, the United States Sentencing

3    Commission promulgated Amendment 782 to the Guidelines, which

4    reduced the offense level of several crimes listed in the drug

5    quantity table by two levels.       United States v. Mitchell, No.

6    112-CR-00199-LJO-SKO, 2016 WL 4161082, at *1 (E.D. Cal. Aug. 4,

7    2016).     The Commission made Amendment 782 retroactively

8    applicable on July 18, 2014.       Id. (citing U.S.S.G. sup. App’x C,

9    amend. 788).     The parties agree that under Amendment 782,

10   defendant’s new total offense level is 33, which results in an

11   amended Guidelines sentencing range of 135 to 168 months.            (See

12   Supplement to Def.’s Mot. at 6-7 (Docket No. 1421); Gov’t’s Opp’n

13   at 2-3.)

14               Defendant now moves to reduce his sentence to 135

15   months pursuant to Amendment 782 and 18 U.S.C. § 3582(c)(2)

16   (“section 3582(c)(2)”).      (Supplement to Def.’s Mot. at 2.)

17               Section 3582(c)(2) states that a federal court may

18   “modify a term of imprisonment” where “a defendant [was]

19   sentenced . . . based on a sentencing range that has subsequently

20   been lowered by the [United States] Sentencing Commission.”            18
21   U.S.C. § 3582(c)(2).      The government disputes whether defendant’s

22   sentence was “based on” the Guidelines, arguing that “the

23   sentencing transcript is ambiguous” as to how his sentence was

24   determined.    (Gov’t’s Opp’n at 5.)      Notwithstanding the

25   government’s argument, the transcript and defendant’s plea

26   agreement appear to be clear on the matter.         The plea agreement
27   states that the court would “impose a sentence” “after

28   consultation and consideration of the Sentencing Guidelines.”
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1    (Plea Agreement at 5.)      At the sentencing hearing, the court

2    stated that it “consider[ed] the guidelines in determining

3    [defendant’s] sentence” and expressly noted that “[a] sentence of

4    168 months . . . would . . . be within the guidelines.”

5    (Sentencing Tr. at 8-9.)      In light of these statements, the court

6    finds that defendant’s sentence was “based on” the Guidelines.1

7                Having determined that defendant’s sentence was “based

8    on” the Guidelines, the court next addresses whether a reduction

9    of that sentence is appropriate under section 3582(c)(2).            The

10   United States Supreme Court held in Dillon v. United States, 560

11   U.S. 817 (2010) that section 3582(c)(2) involves “a two-step

12   inquiry.”    Id. at 826.    “A court must first determine that a

13   reduction is consistent with [the policies set forth in] §

14   1B1.10” of the Guidelines (“section 1B1.10”).          Id.   “At step two

15   of the inquiry, § 3582(c)(2) instructs a court to consider any

16   applicable § 3553(a) factors and determine whether, in its

17   discretion, the reduction authorized by reference to the policies

18   relevant at step one is warranted in whole or in part under the

19   particular circumstances of the case.”        Id. at 827.

20               With respect to step one, the government cites no
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               That the court accepted defendant’s plea agreement,
22   which did not expressly cite the Guidelines in recommending a
     sentence of 168 to 188 months, does not alter the court’s
23   finding. The Ninth Circuit explained in United States v. Davis,
     825 F.3d 1014 (9th Cir. 2016) that a “judge’s decision to accept
24   [a plea agreement] and impose the recommended sentence is likely
     to be based on the Guidelines; and when it is, the defendant
25   should be eligible to seek § 3582(c)(2) relief.” Id. at 1026.
26   As discussed above, statements made in defendant’s plea agreement
     and at the sentencing hearing indicate that the court’s decision
27   to impose a 168-month sentence was “based on” the Guidelines.
     Thus, the court’s acceptance of defendant’s plea agreement does
28   not alter his eligibility for relief under section 3582(c)(2).
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1    provision of section 1B1.10, and the court is not aware of any

2    provision in that section, that is inconsistent with defendant’s

3    motion.   The government concedes that “defendant may be eligible

4    for a sentence reduction” provided that he satisfies the other

5    requirements of section 3582(c)(2).        (Gov’t’s Opp’n at 2.)     Thus,

6    defendant has satisfied step one of the Dillon test.

7                With respect to step two, the government argues that

8    the court should “exercise its sentencing discretion [to] decline

9    to provide any sentence reduction” because “defendant’s sentence

10   reflects the massive scale of his large-scale drug trafficking”

11   and his participation “at the highest levels of” a drug

12   trafficking conspiracy.      (Id. at 5-6.)    The PSR, however, already

13   took these factors into account when it determined defendant’s

14   original sentencing range under the Guidelines.          (See PSR ¶¶ 20,

15   23-24, 51 (discussing the quantity of drugs defendant trafficked

16   and his level of participation in the relevant drug trafficking

17   conspiracy).)    The court adopted the PSR’s findings “[w]ith

18   respect to the sentencing guidelines,” (Sentencing Tr. at 2),

19   and, as explained above, sentenced defendant “based on” the

20   Guidelines.     In light of Amendment 782’s reduction of drug crime
21   sentences determined under the Guidelines, the court sees no

22   reason to deny defendant a sentence reduction here.

23               Having determined that defendant is entitled to a

24   reduction in his sentence, the court must still exercise its

25   discretion in determining the amount of the reduction.

26   Considering all of the relevant sentencing factors set forth in
27   18 U.S.C. § 3553(a), some of the concerns expressed by the

28   government cause the court to conclude that a full reduction to
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1    the bottom of the newly calculated guidelines would not be

2    appropriate.    In the PSR, the Probation Officer expressed the

3    view that a sentence of less than 188 months (which at that time

4    was 20 months higher than the bottom of the guidelines) would

5    minimize the seriousness of the offense.         Defendant was engaged

6    in a large scale drug trafficking operation providing

7    methamphetamine to the Nuestra Familia.

8                Having reviewed the entire record, the court finds a

9    new sentence of 144 months to be sufficient but not greater than

10   necessary to satisfy all of the relevant sentencing factors in

11   light of the Guidelines after Amendment 782.

12               IT IS THEREFORE ORDERED that defendant’s Motion to

13   reduce his sentence pursuant to § 3582(c)(2) be, and the same

14   hereby is, GRANTED.     Defendant’s term of imprisonment shall be

15   reduced to 144 months, effective immediately.

16   Dated:   November 17, 2016

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